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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )          Case No. 4:05CR3138
                    Plaintiff,             )
                                           )
      vs.                                  )          TENTATIVE
                                           )          FINDINGS
PHILLIP E. CAMACHO,                        )
                                           )
                    Defendant.             )

      I am in receipt of the presentence investigation report in this case. Except for
the defendant’s motion for departure or variance (filing 67), there are no objections
or motions for departure or variance.

      IT IS ORDERED that:

       (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 125 S. Ct. 738 (2005). In this
regard, the undersigned gives notice that, unless otherwise ordered, he will (a) give
the advisory Guidelines substantial weight; (b) resolve all factual disputes relevant to
sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart
from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted,
deviate or vary from the Guidelines only when there is a plainly superior, principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.

      (2) The defendant’s motion for departure or variance (filing 67) asking that
I reduce the defendant’s sentence because of time he spent in jail on related state
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charges is denied.1 While the defendant is entitled to credit for time served when he
was in jail on related state charges that were dismissed in favor of prosecution of this
case, the Bureau of Prisons determines the credit and applies it against my sentence.
 See 18 U.S.C. § 3585(b)(2); United States v. Moore, 978 F.2d 1029, 1030-31 (8th Cir
1992) (affirming Bureau of Prisons decision to award credit for time served in state
custody pending trial on subsequently dismissed state charges arising out of the same
incident as gave rise to the federal prosecution and reversing decision of the district
court). The argument asserted by defense counsel is misplaced because it relies on
cases where the defendant was sentenced on state charges and the sentence was
discharged or partially discharged prior to the time of the federal sentencing.

       (3) Except to the extent (if at all) that I have reserved an issue for later
resolution in the preceding paragraph, the parties are herewith notified that my
tentative findings are that the presentence report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting
the submission of evidentiary materials), (b) a brief as to the law and (c) if an
evidentiary hearing is requested, a statement describing why an evidentiary hearing
is necessary and how long such a hearing would take.

      (5)    Absent submission of the information required by the preceding


      1
        I will, however, recommend to the Bureau of Prisons that the defendant receive
credit for time served in jail on the dismissed state charges (PSR ¶ 45) as required by
18 U.S.C. § 3585(b)(2). At sentencing, the parties should be prepared to advise me
how long the defendant was in jail on the state charges before he came into federal
custody.

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paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      May 5, 2006.                      BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge




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